  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 1 of 21 PageID #:920



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


Kent Maynard, Jr.                      )
                                       )
            Plaintiff,                 )
                                       )
     v.                                )    No. 24 C 3612
                                       )
                                       )
THE CITY OF CHICAGO, a                 )
municipal corporation, and             )
Chicago Police Officer                 )
CARMEN MOSTEK (Star 8664)              )
                                       )
            Defendants.                )


                      Memorandum Opinion and Order

     On April 21, 2024, as plaintiff Kent Maynard, Jr., opened the

front door to his Chicago apartment, his dog Aggie slipped past

his legs and ran down the sidewalk, with plaintiff in hot pursuit.

Seconds later, Aggie lay dead, shot in the head by plaintiff’s

neighbor, defendant Carmen Mostek, an off-duty Chicago Police

Officer who was walking her own dog down the same block. Mostek

called 911 to report the incident, identifying herself as an off-

duty police officer. She told the 911 operator, “there was a dog

attacking my dog, and I had to shoot it,” and she requested an

ambulance for plaintiff, who she said was “freaking out” and

“need[ed] help calming down.” Am. Compl., ECF 22 at ¶¶ 38, 41.

     Officer Nicholas Pronek responded to the scene and spoke with

Mostek. According to his police report,
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 2 of 21 PageID #:921



      while struggling with the pitbull, [Mostek’s] neighbor
      and owner of the pitbull, attempted to help with negative
      results and at that point, [Mostek] drew her service
      weapon and fired one shot striking the pitbull in the
      head stopping the attack.

ECF   22-1   at   2.   The     following    week,     a   Tactical     Response

Investigation     Report     was   completed    in   conjunction     with    the

incident.    Captain    Michael     Poppish    reviewed     the    report    and

concluded based on the information provided that Mostek’s use of

force “complied with department policy and directives.” ECF 22-2

at 3. Plaintiff claims, however, that these reports were based on

Mostek’s false account of the incident, and that the Chicago Police

Department’s “investigation” was a sham.

      Aggie’s fatal encounter with Mostek was captured on video by

a residential surveillance camera. Plaintiff describes the footage

at length in his complaint, and he also filed the recording in

conjunction with his response the City’s motion. The video opens

abruptly, with Aggie lunging toward Mostek’s dog and beginning to

bite and wrestle with it on the sidewalk at the corner of South

Normal Avenue and West 29th Street. Mostek, standing a few steps

north of the corner on Normal Avenue, quickly approaches the

corner, just as plaintiff comes into view, running eastbound on

29th Street toward the tangle of dogs at the corner. Plaintiff and

Mostek converge on the dogs, and plaintiff appears to kick once at

them before falling to the ground next to them. Meanwhile, Mostek

stumbles forward toward the dogs and then back, but she remains

                                       2
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 3 of 21 PageID #:922



upright. As Mostek regains her balance, her own dog trots off

northbound on Normal, followed by Mostek. Mostek and her dog

quickly enter their home, while plaintiff remains on the ground

over Aggie’s lifeless body. The entire incident lasts fewer than

ten   seconds,   and   the   remainder     of   the   video    shows    various

individuals approaching the scene and interacting with plaintiff,

who rises from the ground and gesticulates in evident grief and

distress.

      It is not possible to ascertain from the video the precise

moment at which Mostek pulled the trigger. According to plaintiff,

by the time Mostek fired, Aggie was no longer a threat, as

plaintiff had thrown himself on top of her and pulled her to his

chest, while Mostek’s dog trotted off unharmed. Plaintiff states:

“While still moving and out of balance, Mostek, holding her pistol

loosely in one hand, fired one shot at the place where Aggie and

Plaintiff were lying side by side on the ground,” fatally striking

the dog in the ear and missing plaintiff’s head by just inches.

      In this action, plaintiff sues Mostek pursuant to 42 U.S.C.

§ 1983, claiming that she deprived him of his Fourth Amendment

rights under color of state law by using excessive force in

shooting Aggie. He also asserts various state claims against

Mostek. Against the City, plaintiff asserts § 1983 claims pursuant

to Monell v. N.Y.C. Dept. of Soc. Servs., 436 U.S. 658 (1978), for

policies, practices, and customs that he attributes to the City

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  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 4 of 21 PageID #:923



and claims caused the deprivation of his constitutional rights. He

also asserts state claims against the City for respondeat superior

and indemnification. According to plaintiff, the Chicago Police

Department   (“CPD”)     “automatically      engaged     in   a   cover-up       in

accordance with CPD’s well-established pattern and practice of

allowing   CPD   officers     to   engage    in   deadly      misconduct     with

impunity.” Am. Compl., ECF 22 at ¶ 130.

     In total, plaintiff asserts nine claims: (I) a § 1983 claim

against Mostek for excessive force; (II) a Monell claim against

the City for excessive force; (III) a Monell claim against the

City for failure to train, supervise, and discipline its officers;

(IV) a state law claim against Mostek for willful and wanton

misconduct; (V) assault against Mostek; (VI) defamation against

Mostek; (VII) intentional infliction of emotional distress against

Mostek; (VIII) respondeat superior against the City; and (IX)

indemnification against the City under 745 ILCS 10/1-102 (the “Tort

Immunity Act”). The City has moved to dismiss the claims against

it. For the reasons that follow, I grant the motion as to the

Monell claims and deny it as to the state claims.

                                      I.

     A motion to dismiss tests the sufficiency of the complaint,

not the merits of the plaintiff’s case. Gibson v. City of Chicago,

910 F.2d 1510, 1520 (7th Cir. 1990). To survive dismissal, a

complaint must allege “enough facts to state a claim to relief

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     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 5 of 21 PageID #:924



that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S.     544,   570    (2007).      Facial       plausibility     exists       “when   the

plaintiff pleads factual content that allows the court to draw the

reasonable      inference     that     the       defendant   is    liable       for    the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

“Threadbare      recitals     of    the    elements     of   a    cause    of    action,

supported by mere conclusory statements, do not suffice.” Id.

       Section 1983 “provides a civil remedy against any ‘person’

who violates a plaintiff’s federal civil rights while acting under

color of state law.” Thomas v. Neenah Joint Sch. Dist., 74 F.4th

521, 523 (7th Cir. 2023). Although municipalities are “person[s]”

who may be sued under § 1983, they are liable only for their own

violations of federal law; they may not be held vicariously liable

for the constitutional torts of their employees. Dean v. Wexford

Health Sources, Inc., 18 F. 4th 214, 235 (7th Cir. 2021) (citing

Monell, 436 U.S. at 691–94 (2018)). Accordingly, to survive the

City’s motion, plaintiff’s allegations must suggest plausibly

that: “(1) [he] was deprived of a constitutional right; (2) the

deprivation can be traced to some municipal action (i.e., ‘a policy

or    custom’),       such   that    the     challenged      conduct      is    properly

attributable to the municipality itself; (3) the policy or custom

demonstrates municipal fault, i.e., deliberate indifference; and

(4) the municipal action was the moving force behind the federal-

rights violation.” Thomas, 74 F.4th at 524 (internal quotation

                                             5
    Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 6 of 21 PageID #:925



marks and citations omitted).

      The City argues that plaintiff’s Monell claim fails at each

prong, but the overarching theme of its motion is that when Mostek

shot Aggie, she was acting as a private citizen, not as a police

officer.1 Indeed, both sides devote the bulk of their arguments to

this issue, presumably because if Mostek was acting in her private

capacity,      plaintiff’s       constitutional       claims     against      both

defendants fail at the outset because any claim under § 1983

requires     him   to   establish    “that    the   alleged    deprivation     was

committed under color of state law.” Spiegel v. McClintic, 916

F.3d 611, 616 (7th Cir. 2019). Having closely examined plaintiff’s

allegations and the additional materials appropriately before me,2


1 As for whether plaintiff otherwise suffered the deprivation of a
constitutional right, “[e]very circuit that has considered the
issue has held that the killing of a companion dog constitutes a
‘seizure’ within the meaning of the Fourth Amendment.” Viilo v.
Eyre, 547 F.3d 707, 710 (7th Cir. 2008). So unless Aggie’s killing
was reasonable under the circumstances, Mostek’s alleged actions—
if under color of state law—support plaintiff’s Fourth Amendment
claim. See id. (“[T]he use of deadly force against a household pet
is reasonable only if the pet poses an immediate danger and the
use of force is unavoidable.”).
2 See Citizens Ins. Co. of Am. v. Wynndalco Enters., LLC, 70 F.4th

987, 995 (7th Cir. 2023); Bogie v. Rosenberg, 705 F.3d 603, 608-
09 (7th Cir. 2013). To the extent both parties rely on these
materials in support of their arguments, I view them, as I must,
in the light most favorable to plaintiff. See Esco v. City of
Chicago, 107 F.4th 673, 679 (7th Cir. 2024). As to the additional
materials attached to defendant’s reply that plaintiff moves to
strike, the City offers those materials largely in support of its
under-color-of-law and scope-of-employment issues, on which I rule
in plaintiff’s favor. At all events, I did not rely on those
materials in reaching my conclusion here. I deny plaintiff’s motion
to strike for these reasons.
                                         6
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 7 of 21 PageID #:926



as well as relevant cases from within and outside this circuit, I

conclude that this is not a matter I can decide on the record as

it currently stands.

       It is true that Mostek was off duty when she shot Aggie, but

all agree that a police officer’s off-duty status “does not resolve

the question of whether he or she acted under color of state law.”

Gibson 910 F.2d at 1517 (citation omitted). Indeed, “no bright

line   distinguishes    a   police   officer’s     personal    pursuits     from

actions taken under color of state law,” Coles v. City of Chicago,

361 F. Supp. 2d 740, 748 (N.D. Ill. 2005), and the Seventh Circuit

has emphasized “the necessity of a rigorous fact-bound inquiry,”

DiDonato v. Panatera, 24 F.4th 1156, 1160 (7th Cir. 2022).

       Whether an officer was acting under color of state law

“turn[s] largely on the nature of the specific acts” the officer

performed. Id. On the one hand, “acts of officers in the ambit of

their personal pursuits are plainly excluded” from the scope of

§ 1983. Coles v. City of Chicago, 361 F. Supp. 2d 740, 748 (N.D.

Ill. 2005) (quoting Screws v. United States, 325 U.S. 91, 111

(1945)). On the other, “[a]cts of officers who undertake to perform

their official duties are included whether they hew to the line of

their authority or overstep it.” Id. 748 (quoting Screws, 325 U.S.

at 111) (additional citations omitted).

       By the City’s lights, “Mostek was acting in self-defense, in

defense of her property, and defending Plaintiff from his dog.”

                                       7
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 8 of 21 PageID #:927



Reply, ECF 40 at 8. The City argues that “[t]hese are not actions

that only a police officer is authorized to take.” Id. The City

further observes that plaintiff does not allege that Mostek was

wearing a uniform or was engaged in police activities prior to the

incident. The City underscores that Mostek was defending herself

and her own dog and insists that “[a]ny steps Mostek took after

the shooting are indistinguishable from those of private actors

who would act in a similar way to protect their property.” Mot.,

ECF 33 at 7. But that’s not really true. When Mostek called 911

moments after the incident—something a private citizen may or may

not have done under the circumstances—she immediately identified

herself as an off-duty police officer. Am. Compl. at ¶ 38. Mostek

then reiterated her police status when she spoke to the fire

department about an ambulance for plaintiff, describing herself as

“an off-duty who got into a shooting.” Id. at ¶ 40. Plaintiff

asserts that Mostek emphasized her status as a police officer

precisely to clothe her actions in a cloak of authority, and I

agree that that is a plausible interpretation of these facts.

     Recently, a court in the Eastern District of Michigan declined

to grant summary judgment in favor of an off-duty police officer

who allegedly violated the Fourth Amendment when he fatally shot

the plaintiffs’ dog.       Parkes v. Wynne, No. 20-12650, 2024 WL

4373757, at *4 (E.D. Mich. Sept. 30, 2024). The court concluded

that the evidence was sufficient to raise a reasonable inference

                                       8
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 9 of 21 PageID #:928



that the officer was acting under color of state law, pointing to

indications that he “sought to use his status as a law enforcement

officer ‘advantageously’ to justify his actions.” Parkes v. Wynne,

No. 20-12650, 2024 WL 4373757, at *4 (E.D. Mich. Sept. 30, 2024).

The court explained:

       [M]oments after the second shot was fired, [Officer]
       Wynne had already identified himself to others as a law
       enforcement officer. Although Wynne testified that he
       informed the Oak Park Police Department via 911 that he
       was a law enforcement officer for the purpose of
       establishing his authority to carry a gun, it is unclear
       whether he also announced his status to lend the “indicia
       of authority” to his actions as bystanders began to
       gather following Astro’s shooting.

Id., 2024 WL 4373757, at *4. Similarly here, a reasonable inference

is that Mostek repeatedly identified herself as a police officer

to establish her authority to shoot Aggie in her capacity as a

peace officer. That she may also have been “motivated by personal

interests” does not foreclose the inference that she acted under

color of state law. McGlenn v. Madison Metro. Sch. Dist., No. 21-

CV-683-JDP, 2024 WL 3169814, at *6 (W.D. Wis. June 25, 2024)

(observing that the defendant cited “no Supreme Court or Seventh

Circuit cases holding or implying that a public employee cannot

act under color of law if his conduct is unauthorized or if he is

motivated by personal interests.”).

       Indeed, that is precisely the position Mostek has taken in

this   litigation.    In   answer   to       the   Amended   Complaint,   Mostek

purports to admit that “[a]t all times pertinent hereto, Mostek

                                         9
     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 10 of 21 PageID #:929



was acting under color of state law and within the scope of her

employment with the City of Chicago as a sworn police officer[.]”

Answer, ECF 35 at ¶ 168. To be sure, Mostek’s “admission” is not

conclusive as to the legal question whether she was acting under

color of state law. See Chavez v. Guerrero, 465 F. Supp. 2d 864,

869 (N.D. Ill. 2006) (“[w]hether a defendant acted under color of

state law is a question of law for the court”). Nevertheless, the

City’s insistence that its officer was behaving in a purely

personal capacity is in obvious tension with the officer’s own

view of her conduct. At a minimum, this tension suggests that

further factual development is necessary.3

         Moreover, there is evidence that the CPD likewise considered

    Mostek to have been engaged in police work when she shot Aggie.

    The very first line of the Original Case Incident Report describes

    the incident as “Non-Criminal – Destruction of Animal by Police.”

    ECF 22-1 at 1. The narrative portion of that document states that


3For example, although neither party’s submissions raise the issue
explicitly, several of the cases they cite refer to the CPD’s
“general regulation that requires an officer to be on duty twenty-
four hours a day for purposes of responding to emergencies.” Gibson
v. City of Chicago, 910 F.2d 1510, 1517 (7th Cir. 1990); see also
Coles v. City of Chicago, 361 F. Supp. 2d 740, 742–43 (N.D. Ill.
2005) (“[t]he General Orders of the Chicago Police Department
require an off-duty officer to take some action when he observes
a crime being committed.”). Whether these regulations had any
bearing on Mostek’s conduct is a factual matter that cannot be
determined on the present record.




                                          10
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 11 of 21 PageID #:930



Mostek was an “off duty police officer” who, in response to

Aggie’s attack, “drew her service weapon and fired one shot

striking the pitbull in the head stopping the attack.” Id. at 2.

And the Tactical Response Report prepared after the incident

contains further indicia that Mostek was engaged in police work

when she responded to Aggie’s attack. The form—which contains a

number of boxes that can be checked to indicate the circumstances

surrounding an officer’s use of force—reflects checked boxes

indicating that Mostek responded to a “physical attack without

weapon”       that      amounted       to     an     “ambush,”        involving

“mouth/teeth/spit”        and    “grab/hold/restrain,”        and    that    the

subject, i.e., Aggie, “used force likely to cause death or great

bodily harm.” ECF 22-2 at 1. The report also specifies—again

through a checked box—that Mostek discharged her weapon “only to

destroy/deter an animal.” Id. The very fact that Mostek’s conduct

could be memorialized neatly and succinctly by choosing among

standard options available on a pre-printed CPD form itself

suggests, contrary to the City’s insistence that “Mostek’s alleged

behavior ha[d] nothing to do with the type of work Mostek is paid

to do as a CPD police officer,” Mot., ECF 33 at 19, that her

actions fell within the realm of routine police work.

     For the reasons explained above, I cannot conclude as a matter

of law that Mostek was acting in her personal capacity as a private

citizen and not under color of state law. But plaintiff’s Monell

                                       11
     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 12 of 21 PageID #:931



claim requires more to survive dismissal: plaintiff must also

allege plausibly that a policy, practice, or custom of the City

proximately caused the constitutional injury he claims. It is here

that his claim falters. In particular, he fails to allege plausibly

that      municipal     action    was    the    “moving    force”     behind    the

constitutional deprivation he alleges.

         “Three types of municipal action support Monell liability:

    (1) an express policy that causes a constitutional deprivation

    when enforced; (2) a widespread practice that is so permanent and

    well-settled that it constitutes a custom or practice[4]; or (3)

    an allegation that the constitutional injury was caused by a

    person with final policymaking authority.” Thomas v. Neenah Joint

    Sch. Dist., 74 F.4th 521, 524 (7th Cir. 2023) (quoting Spiegel,

    916 F.3d at 617 (quotation marks omitted)). Although the Amended

    Complaint once asserts that Mostek was following an “express”

    policy, it also states that “Mostek’s use of deadly force violated

    CPD’s written policies,” Am. Compl. at 18, and that Mostek “used




4 This awkward, yet often repeated, description of a “widespread
practice” so well-settled as to constitute a “practice” is
distilled from the Court’s recognition, in Adickes v. S. H. Kress
& Co., 398 U.S. 144, 167–68 (1970), that the state can act not
only through its express policies, but also through practices that
are “so permanent and well settled as to constitute a ‘custom or
usage’ with the force of law.” (citation omitted). Tracing the
modern formulation of this type of state action to its roots
reveals that the important point is not how the state action is
characterized, but rather whether the action is carried out so
consistently that it can be deemed to have “the force of law.”
                                          12
 Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 13 of 21 PageID #:932



excessive   force    as   part   of   a    widespread   practice     promoted,

tolerated, and condoned by a culture of over-aggressive policing

in the Chicago Police Department.” Id. at ¶ 128. Indeed, his

opposition to defendant’s motion makes clear that his claims rest

not on any express policy, but rather on the CPD’s alleged failure

to adhere to its express policies, and instead to embrace a

culture of excessive force. See Resp., ECF 37 at 8 (arguing that

CPD’s “written policies regarding excessive use of force are

honored only in the breach,” and asserting “a widespread practice

of excessive use of force that is so permanent and well-settled

as to constitute a custom or usage.”).

     Plaintiff variously characterizes the customs and practices

he challenges as:

           a “pattern and practice [that] relies upon overly
            aggressive   tactics   that  unnecessarily  escalate
            encounters with individuals, increase tensions, and
            lead to excessive force”;

           a “longstanding policy and practice of encouraging
            officers to point guns at community members without
            justification”;

           a “custom and practice of shooting first and asking
            questions later”;

           a “longstanding pattern and practice of over-aggressive
            and violent responses to civilian encounters, even in
            the absence of any crime”;

           a “custom and practice of brutality and excessive force
            anchored in the notion that CPD officers are above the
            law and protected by a code of silence”;


                                      13
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 14 of 21 PageID #:933




              a “pattern and practice of allowing CPD officers to
               engage in deadly misconduct with impunity”; and

              policies, practices, and procedures “that embrace
               excessive force and treat[] people ‘as animals or
               subhuman.’”

Am. Compl., ECF 22, at ¶¶ 202, 192, 178, 152, 151, 130, 110.

Plaintiff claims that these widespread customs and practices were

the “moving force” behind the deprivation of his constitutional

rights because they cause officers, including Mostek, “to believe

they     can     abuse     and      violate    individuals’   rights    without

consequence.” Id. at ¶ 247. But the level of generality at which

he describes the challenged practices does not suggest a “direct

causal    link      between   the    challenged   municipal   action   and   the

violation      of    his   constitutional      rights.”   First   Midwest    Bank

Guardian of Est. of LaPorta v. City of Chicago, 988 F.3d 978, 987

(7th Cir. 2021) (internal quotation marks and citation omitted).

       In First Midwest Bank, the Seventh Circuit examined the

distinction the Supreme Court drew in Board of County Commissioners

of Bryan County, Oklahoma v. Brown 520 U.S. 397 (1997), between a

claim alleging that “a municipality takes action or directs an

employee to take action that facially violates a federal right,”

and one in which “the plaintiff alleges that the municipality has

not directly injured him but instead that it caused an employee to

do so.” Id. at 405. Because plaintiff’s claim falls into the latter

category, “rigorous standards of culpability and causation must be


                                          14
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 15 of 21 PageID #:934



applied to ensure that the municipality is not held liable solely

for the actions of its employee.” Id. This means that plaintiff

must plead and ultimately prove “deliberate indifference,” on the

City’s   part,   i.e.,    that    it   was    obvious   that   the   widespread

practices plaintiff identifies would lead to the constitutional

violation he suffered and that the City “consciously disregarded

those consequences.” First Midwest Bank, 988 F.3d at 987. “This is

a high bar,” id., and plaintiff’s allegations do not satisfy it.

     As factual support for his excessive force claim, plaintiff

points to several high-profile cases of police violence in Chicago

from the past decade and to the United States Department of

Justice’s    2017    report,     Investigation     of   the    Chicago    Police

Department. It is true that the DOJ “found that CPD officers engage

in a pattern or practice of using force, including deadly force,

that is unreasonable.” Am. Compl., Exh. 3, ECF 22-3 at 5. But

nothing in the report suggests “‘a prior pattern of similar

constitutional      violations’     to    those   he    suffered,”    Cosby       v.

Rodriquez, 711 F. Supp. 3d 983, 1010 (N.D. Ill. 2024) (quoting

Fields v. City of Chicago, 981 F.3d 534, 562 (7th Cir. 2020)), nor

does plaintiff point to anything in the report that would have

made it so obvious to the City that its widespread practices would

cause the kind of injury he suffered that the City can be deemed

to have exhibited deliberate indifference.

     Cosby and Fields offer an instructive contrast, illustrating

                                         15
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 16 of 21 PageID #:935



the kinds of factual allegations that, unlike those here, plausibly

suggest a “direct causal link” between the municipal practice

challenged and the constitutional injury alleged. In Cosby, the

plaintiff was a nineteen-year-old Black man arrested during a Black

Lives Matter protest in the summer of 2020 for spraying a Chicago

Police officer with a toy water gun. He alleged that officers threw

him to the ground, then

     held him down even after he went limp; that they
     restrained him with zip-tie handcuffs and refused to
     loosen them when he complained of pain; that they
     repeatedly hit him over the head with a baton while he
     lay prone; that, when he asked if he could retrieve his
     lost shoe, an officer replied, “fuck you”; and that,
     once at the station, he was denied access to a restroom,
     food, and water for many hours.

Cosby,   711   F.   Supp.   3d   at   1005.   The   complaint    also   alleged

“numerous instances of these behaviors, both before and during

2020, which together plausibly establish[ed] ‘a prior pattern of

similar constitutional violations’ to those he suffered.” Id. at

1010 (quoting Fields, 981 F.3d at 562). Specifically, the plaintiff

alleged that “officers have responded with violence or aggression

to protests for decades,” id. at 991, and he cited specific

examples of such violence from demonstrations held in 2003, 2011,

and 2016, in which officers reportedly “pushed, attacked, and used

batons to beat protesters.” Id. at 991.

     In Fields, the plaintiff claimed that Chicago Police officers

violated his Brady rights by withholding exculpatory evidence that


                                       16
     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 17 of 21 PageID #:936



was contained in a “street file,” i.e., a “police file[] withheld

from     the   state’s    attorney     and     defense   counsel   and    therefore

unavailable as a source of exculpatory information for a prosecutor

deciding whether to charge or a defense attorney.” Fields, 981

F.3d at 542 (citing Jones v. City of Chicago, 856 F.2d 985, 995

(7th Cir. 1988)). The plaintiff sought to hold the City liable for

the Brady violation under Monell, alleging that its widespread

practice of maintaining street files resulted in a “systemic

underproduction of exculpatory materials.” Id. at 562. The City

was aware of this practice, the plaintiff claimed, from prior

litigation and its own subsequent internal investigation, and it

was further aware that the practice “led to harm in some cases.”

Id.5

         Plaintiff,      too,    cites       prior   litigation     and     related

    investigations, but the factual circumstances and constitutional

    injuries at issue in those cases are similar to his only at the

    very highest level of generality. Take, for example, plaintiff’s

    reference to CPD Officer Jason Van Dyke’s fatal shooting of Laquan

    McDonald in October of 2014. Investigation into that tragedy, and

    Van Dyke’s subsequent conviction for second-degree murder, may


5 I am mindful that Fields addressed the evidence required to
prevail on a Monell claim in the context of a post-trial motion,
not the sufficiency of the plaintiff’s Monell allegations.
Nevertheless, it illustrates the kind of concrete and specific
practice that a jury could reasonably conclude was the “moving
force” behind the violation the plaintiff alleged.
                                          17
     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 18 of 21 PageID #:937



    well have put the City on notice of the risk that its officers

    would fire their weapons at retreating suspects, and that they

    would provide false accounts of the circumstances surrounding

    their use of force. See DOJ Rep., ECF 22-3 at 25-26, 57-58. But

    nothing   about    that      case   suggests         that   the    City    knew   and

    disregarded the risk that its officers would unreasonably shoot

    a pet dog.6

        Plaintiff’s Monell allegations are more like those the court

found insufficient in Mikolon v. City of Chicago, No. 14 CV 1852,

2014 WL 7005257, at *4 (N.D. Ill. Dec. 11, 2014). In Mikolon, the

plaintiff claimed that Chicago Police officers subjected him to an

unconstitutional search, and that the City was liable for the

violation      because      it   “encouraged       the    types   of    constitutional

injuries that plaintiffs purportedly sustained in this case by

maintaining, protecting, or accepting” policies and practices

including a “code of silence... whereby officers remain silent or

give       false      and     misleading          information         during    official

investigations         to     cover     up    unconstitutional           and    criminal

misconduct,” a “failure to adequately investigate and substantiate




6 Plaintiff tries to characterize Mostek’s conduct in a way that
more closely resembles Van Dykes’s by emphasizing the proximity of
his own head to Aggie’s and alleging that she “pointed her gun at
[him] and fired.” Am. Compl., ECF 22 at ¶ 192. But plaintiff does
not contend, nor does anything in the record suggest, that Mostek
was aiming at or intending to shoot plaintiff. Her actions cannot
reasonably be compared to Officer Van Dyke’s.
                                             18
     Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 19 of 21 PageID #:938



allegations of unconstitutional and criminal misconduct by police

officers,” and a failure to discipline officers who engage in

unconstitutional conduct. Id.

        The court held that these allegations failed to state a viable

Monell claim, explaining that Monell’s proximate cause requirement

meant that plaintiffs “must plead enough facts to plausibly suggest

a direct causal link between the purported municipal policy and

the alleged constitutional deprivation.” Mikolon, 2014 WL 7005257,

at     *4   (citations     and     internal      quotation   marks   omitted).       It

concluded that “[v]ague allegations that the City failed to train

its law-enforcement officers in avoiding unconstitutional and

criminal      misconduct,     or    that    the     City   failed   to   investigate

allegations of (or discipline its officers as to) the same, do not

satisfy this requirement.” Id. (citations and internal quotation

marks       omitted).   Plaintiff’s        Monell    allegations     are   similarly

inadequate.

        This leaves plaintiff’s state claims for respondeat superior

and indemnification, both of which turn on the issue of whether

the Amended Complaint adequately alleges that Mostek was acting

within the scope of her employment at the time of her allegedly

unlawful conduct. See Fuery v. City of Chicago, No. 07 C 5428,

2014 WL 1228718, at *6 (N.D. Ill. Mar. 25, 2014) (“[t]he scope of

employment analysis is the same for purposes of respondeat superior

liability...and indemnification...under the Tort Immunity Act, 745

                                            19
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 20 of 21 PageID #:939



ILCS § 10/9–102.”).

     Under Illinois law, there are three necessary criteria
     for an employee’s action to be within the scope of his
     employment. First, the relevant conduct must be of the
     kind that the employee was employed to perform. Second,
     the conduct must have occurred substantially within the
     time and space limits authorized by the employment. And
     third, the conduct must have been motivated, at least in
     part, by a purpose to serve the employer.

Elston v. Cnty. of Kane, 948 F.3d 884, 887 (7th Cir. 2020).

Although   the   “two    elements     of    ‘under   color’   and    ‘scope       of

employment’ should not be confused,” id., Coles v. City of Chicago,

361 F. Supp. 2d 740, 746 (N.D. Ill. 2005), many of the facts

discussed above in conjunction with the former issue are relevant

as well to the latter.

     For example, the City contends that plaintiff has not pled

the first element—that Mostek’s actions were of the kind she was

employed to perform—but as noted above, the pre-printed Tactical

Response form used to summarize and analyze an officer’s use of

force contains several boxes corresponding to the actions Mostek

took, and, indeed, the Case Incident Report characterizes the

incident as “Non-Criminal – Destruction of Animal by Police.” ECF

22-1 at 1. These facts are sufficient to raise an inference that

Mostek’s actions were of the kind she was employed to perform.

     As for whether Mostek’s actions were at least partially

motivated by a purpose to serve her employer, when all inferences

from the record are drawn in plaintiff’s favor, Mostek’s statements


                                       20
  Case: 1:24-cv-03612 Document #: 49 Filed: 11/04/24 Page 21 of 21 PageID #:940



in the record and her “admission” that she was acting within the

scope   of   her   employment    can   be     construed   as   reflecting    her

subjective belief that she was acting as a Chicago Police officer

throughout the events in question. That is sufficient at this

stage. See Lyons v. Adams, 257 F. Supp. 2d 1125, 1140 (N.D. Ill.

2003) (noting “the importance of the defendant’s subjective intent

to the scope of employment issue under Illinois law.”).

     The City’s final arguments are that it cannot be held liable

either for punitive damages or for indemnification or respondeat

superior based on plaintiff’s defamation claim against Mostek.

Because plaintiff offers no response to these arguments, I dismiss

these claims for the reasons the City articulates.

                                       III.

     For the foregoing reasons, defendant’s motion to dismiss is

granted as to plaintiff’s Monell claims (Counts II and III of the

Amended Complaint) and his prayer for punitive damages against the

City. In addition, any claim seeking to hold the City liable for

Mostek’s alleged defamation is dismissed. The City’s motion is

otherwise denied.

                                              ENTER ORDER:




                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge
Dated: November 4, 2024

                                       21
